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                                UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                          PORTLAND DIVISION


    MARIE TYVOLL,                                     Case No.: 3:20-cv-01878-IM
                   Plaintiff,
                                                      VERDICT FORM
           V.

    CITY OF PORTLAND, a municipal
    corporation; and JUSTIN D.
    DAMERVILLE, an individual,

                  Defendants.

           We, the jury, being first duly empaneled, do find:

           Claim One: Fourth Amendment Excessive Force

           I.     Did Defendant Damerville subject Plaintiff to excessive force?

                  Answer:         Yes                    No      /

           If you answered "No" to Question I, your verdict is for the Defendants on both claims.

    Do not answer any more questions. Have your presiding juror sign and date this verdict form.

           If you answered "Yes" to Question I, go to Question 2.

           Claim Two: Battery

           2.     Did Defendant City of Portland, through its agent Sgt. Damerville, commit a

                  battery on Plaintiff?

                  Answer:        Yes                    No. _ __

           If you answered "No" to Question 2, your verdict is for Defendant City of Portland on

    Claim Two. Do not answer Question 3 and go to Question 4.

           If you answered "Yes" to Question 2, go to Question 3.




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           3.      Was defendant Damerville justified in using pepper spray on plaintiff?

                  Answer:         Yes                   No _ __

           If you answered "Yes" to Question 3, your verdict is for Defendant City of Portland on

    Claim Two. Do not answer any more questions. Have your presiding juror sign and date this

    verdict form. If you answered "No" to Question 3, go to Question 4.

           Damages

           4.     What are plaintiffs damages?

                  Non-economic Damages:          $._ _ _ _ __



           Sign and return this verdict.



           DATED this J.i day ofNovember, 2024




                                                               Presiding Juror




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